Case 1:21-cv-01286-MSG Document 342-1 Filed 06/13/23 Page 1 of 3 PageID #: 6144




                    EXHIBIT A
           Case 1:21-cv-01286-MSG Document 342-1 Filed 06/13/23 Page 2 of 3 PageID #: 6145


   From:                   Lee Strasburger <Itrasburger@smithlaw.com>
   To:                     Iavesh@bionpharma.com; venkat@bionpharma.com; Todd R. Daviau, Ph.D, MBA
   CC:                     'Jeff Edwards'; 'Dylan Erdle'; 'Ashton Poole'; Heyward Armstrong
   Sent:                   1/7/2021 9:13:11 AM
   Subject:                RE: Waiver Letter / Revised Draft for Review
   Attachments:            Letter Agreement re Termination and Waiver (F) (SA Draft 1-7-21 REDLINE)....pdf; Letter Agreement re Termination and Waiver (F) (SA Draft 1-
                           7-21) 8760773....docx




   Lavesh,

   We have reviewed your proposed changes to the waiver letter with Jeff, Ashton, and the rest of the NovaQuest Team. We are willing to accept your
   inclusion of the word "promptly" in the next to last sentence of Paragraph 3, but all of your other proposed changes are hereby rejected. See attached for
   a revised draft to that effect. If this revised draft is unacceptable, then we should get on the phone with the Bion team ASAP this morning to better
   understand your position.

   We've been consistent with our asks here for a while now and have used our best efforts to faithfully incorporate the feedback that we received from you
   and Venkat in the various calls on Tuesday. To continue to receive changes to points that we believed were settled is surprising.

   Best,
   Lee

   LEE STRASBURGER I Smith Anderson
   919.821.67141 'sburger(dsmithlaw.com


   From: Iavesh@bionpharma.com [mailto:lavesh@bionpharma.com]
   Sent: Wednesday, January 6, 2021 6:08 PM
   To: Lee Strasburger <Itrasburger@smithlaw.com>; venkat@bionpharma.com
   Cc: 'Jeff Edwards' <Jeff.Edwards@ngcapital.com>; 'Dylan Erdle' <Dylan.Erdle@ngcapital.com>; 'Ashton Poole' <ashton.poole@ngcapital.com>;
   Heyward Armstrong <harmstrong@smithlaw.com>
   Subject: RE: Waiver Letter / Revised Draft for Review

   Dear team

   Thank you for the efforts this is we believe very close. See attached revised draft of the waiver. Most are just minor cleanup. If there are any issues
   remaining, we request Ashton or Jeff reach out to Venkat otherwise we can assume this is finalized. Many thanks

   Kind regards,

   Lavesh



   From: Lee Strasburger <Istrasburger(cDsmithlaw.com>
   Sent: Wednesday, January 6, 2021 8:46 AM
   To:                                       .1pharma.a
   Cc: Jeff EH:. 3rds <I&   ' rd       apital.com>; Dylan Erdle <Dylan.Erdle(cD.ngcapital.com>; Ashton Poole <ashton.poole(cD_ngcapital.com>; Heyward
   Armstrong <                           „>
   Subject: Waiver Letter! Revised Draft for Review

   Bion Team,

   See attached for a revised draft of the waiver letter in light of your conversation with the NovaQuest Team yesterday. Let us know if you have any
   questions.

   Best,
   Lee

   LEE STRASBURGER I Smith Anderson
   919.821.67141  sburgereasmithlaw.com


   From: Ashton Poole [ -ilto:ashton.poole(cbngcapital.com]
   Sent: Tuesday, January 5. 2021 8:37 PM
   To: venkat@bionx          .om
   Cc: Jeff Edwards < . ff 'dwards((Dngcapital.com>; lavesh(cD_bionpharma.com; Lee Strasburger <Istrasburger(a)smithlaw.com>; Heyward Armstrong
   <harmstrona srr
   Subject: Re: Subsidiary Waiver

   Venkat thank you for your message. We have discussed the points with Smith Anderson (copied) and they will be sending a follow-up draft to Lavesh for
   his review. I too am hopeful that we can finalize this tomorrow.

   Jeff and I appreciate both your and Lavesh's assistance and we look forward to a continuing the strong relationship with Bion going forward.

   Regards,




HIGHLY CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER                                                                                                BION-ESOL-00040442
          Case 1:21-cv-01286-MSG Document 342-1 Filed 06/13/23 Page 3 of 3 PageID #: 6146
   Ashton

   Ashton Poole
   Partner
   NovaQuest Capital Management

   Sent from my iPad Pro


   AshtonPoole
   Partner

   4208 Six Forks Road, Suite 9201 Raleigh, NC 27609
   P: +1-919-459-8636
   &mail: ashton.poole(?nacanital.com




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   immediately and delete this communication, including attachments, from your computer.

   On Jan 5, 2021, at 6:47 PM, venkat _ib onpharma.com wrote:


   Hi Ashton/Jeff,

   Refer our call today on the captioned subject, it will be good to get a suitable language from your lawyers covering the following points along with the
   response to Lavesh's draft circulated today.

   We discussed most of the points below, others are just logical to protect Bionpharma's interest and will not impact your ability to operate freely with the
   "Future Subsidiary".




   We will turn the draft around as soon as we get the draft from your lawyers. Hope all the other provisions in the draft sent out by Lavesh is acceptable
   and we can close this tomorrow.

   Regards
   Venkat

   BionPharma Inc
   Suite 2-4B, 600, Alexander Road
   Princeton, NJ 08540
   Tel: 6093803312



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